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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KATHLEEN A. SERVATIUS
     Assistant U.S. Attorneys
 3   4401 Federal Building
     2500 Tulare Street
 4   Fresno, California 93721
     Telephone: (559) 497-4000
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 6
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                      )     1:11-CR-017 LJO
                                                    )
10                          Plaintiff,              )     ORDER GRANTING Request THAT
                                                    )     GOVERNMENT’S OPPOSITION TO
11                                   v.             )     DEFENDANT’S MOTION IN LIMINE AND
                                                    )     TO SUPPRESS FEDERAL WIRETAP AND
12   JORGE REYNA, et. al.,                          )     FRUITS DERIVED THEREFROM Be filed
                                                    )     UNDER SEAL
13                          Defendants.             )
                                                    )     DATE: September 10, 2012
14                                                  )     TIME: 11:00 a.m.
                                                          HONORABLE Lawrence J. O’Neill
15
              The United States of America, by and through Benjamin B. Wagner, United States Attorney,
16
     and Kathleen A. Servatius, Assistant United States Attorney, having requested permission to file the
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     Government’s Opposition to Defendant’s Motion in Limine and to Suppress Federal Wiretap and
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     Fruits Derived Therefrom under seal until further order of the Court, good cause appearing
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     therefore;
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              IT IS HEREBY ORDERED that the Government’s Opposition to Defendant’s Motion in
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     Limine and to Suppress Federal Wiretap and Fruits Derived Therefrom shall be submitted to the
22
     Court under seal until further order of the Court.
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     IT IS SO ORDERED.
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     Dated:       August 28, 2012                     /s/ Lawrence J. O'Neill
27   b9ed48                                       UNITED STATES DISTRICT JUDGE
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